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                                      IN THE
                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

UNITED STATES OF AMERICA                    )
                                            )      No. 09 CR 343
               v.                           )
                                            )      Honorable Joan H. Lefkow
HEIDI W. FLANAGAN                           )


            MOTION FOR EARLY TERMINATION OF SUPERVISED RELEASE

       Defendant HEIDI W. FLANAGAN, by the Federal Defender Program and its attorney,

MIANGEL CODY, respectfully requests that this Honorable Court enter an order

terminating her supervision early. In further support, Ms. Flanagan states as follows:

       1.      On August 6, 2009, this Court sentenced Ms. Flanagan for a violation of 18

U.S.C. § 656, theft of bank funds. The Court imposed a sentence of one day’s incarceration (time

served), followed by two and one half years’ supervised release. Without incident, Ms.

Flanagan has served over one year of her supervised release. She now requests an early

termination.

       2.      Since the commencement of her probation, Ms. Flanagan has been an

exemplary supervisee, responsibly fulfilling every obligation imposed upon her by her

Probation Officer. She has made timely court payments. She has maintained steady

employment, successfully completed her court imposed obligations, and she has sustained

no new arrests, cases or convictions.

       3.      Ms. Flanagan has complied with all of the conditions her probation, and has

derived all of the benefits she can from his supervision. There is no further need for her to
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remain supervised, and to do so would unnecessarily tax the valuable and limited

resources of the United States Probation Office. She urges that the scarce resources of the

United States Probation Office are better utilized upon those individuals more acutely in

need of court supervision.

       4.     The United States Probation Office, through officer Jay Nichols, interposes

no objection to this request.

       WHEREFORE, for the above-noted reasons, Ms. Heidi Flanagan respectfully asks

the Court to grant her motion for early termination of her supervision.



                                                 Respectfully submitted,

                                                 FEDERAL DEFENDER PROGRAM
                                                 Carol Brook
                                                 Executive Director
By:    /s/ MiAngel Cody
Counsel for Heidi Flanagan
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                               CERTIFICATE OF SERVICE

        The undersigned, MiAngel Cody, an attorney with the Federal Defender Program, hereby
certifies that the following document:

         MOTION FOR EARLY TERMINATION OF SUPERVISED RELEASE

was served on August 30, 2010, in accordance with Fed. R. Civ. P. 5, LR 5.5, and the General
Order on Electronic Case Filing (ECF), pursuant to the district court’s ECF system as to ECF
filers, and was sent by first class mail or by hand delivery to non-ECF filers, if any.


                                            By:    s/ MiAngel Cody
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